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                                       February 10, 2022

Via CM/ECF
The Honorable Maryellen Noreika
United States District Court, District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 19
Room 4324
Wilmington, DE 19801

       RE:     Rigby, et al., v. Jennings
               C.A. No. 1:21-cv-1523-MN

Dear Judge Noreika:

       Please allow this letter to serve as Defendant’s response to the Court’s February, 8, 2022
Order directing Defendant to produce any additional evidence regarding whether the challenged
provisions at issue pass constitutional muster by February 10, 2022. D.I. 29. Defendant is not
submitting additional evidence and will rely on the evidence previously submitted on February 4,
2022. D.I. 27.

       I am available at the Court’s convenience to address any questions or concerns this letter
may raise.

                                             Respectfully submitted,

                                             /s/ Kenneth L. Wan

                                             Kenneth L. Wan

cc:     Counsel for all parties (Via CM/ECF)
